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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

ROSEMARY CALDWELL, .
Plaintiff,
Case No. 16-CV-62'7-TCK-FHM

V.

WHIRLPOOL CORPORATION,

V\_f\_/V\-JV\q-p‘\_/\_/

Defendant.
JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
Plaintiff, Rosemary Caldwell, and Det`endant, Whirlpool Ccrporation, pursuant to
Rule 41(a)( l) of the Federal Rules of Civil Procedure, do hereby stipulate to the dismissal
of the above-styled and numbered cause, and all claims asserted therein, with prejudice to
the re-tiling thereof The parties Stipulate that they shall each bear their own attomeys’
fees and costs.
Respectfully sublnitted,
s/Lauren G. Lambiight
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Lauren G. Lambright, OBA #22300
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Attomeys for P!ai`mz'}f Rosemary Ca!dwel[

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s/Kimberlv Lambert Love

(signed byfz`ling attorney with permission of
non;filz`ng attorney)

Kimberly Lambert Love, OBA #10879
Shalmon P. Wheeler, OBA #22125

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Artomeyfor Defendant, Whirlpool Corporatfon

